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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE



 In re Family Dollar Stores, Inc., Pest
 Infestation Litigation                         MDL No. 3032

 This Document Relates To:                      Case No. 2:22-md-03032-SHL-TMP

 ALL CASES


                               NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that attorney Christopher Chorba of the law firm Gibson,

Dunn & Crutcher LLP hereby enters his appearance as counsel of record on behalf of

Defendants.



Dated: June 28, 2022                       Respectfully submitted,

                                           By: /s/ Christopher Chorba
                                              Christopher Chorba
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                                              Attorney for Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2022, I electronically filed the above with the Clerk of

this Court by using the CM/ECF system, which will accomplish service through the Notice of

Electronic Filing for parties and attorneys who are Filing Users.


                                             /s/ Christopher Chorba
                                             Christopher Chorba

                                             Attorney for Defendants




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